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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Matthew John Dyer,                             )       Case No. 1:17-cr-164
                                               )
               Defendant.                      )


       Matthew John Dyer (“Dyer”) and his wife, Charlene Victoria David (“David”), are charged

in an Indictment with the offenses of conspiracy to distribute and possess with intent to distribute

a controlled substance and conspiracy to commit money laundering. Dyer is also charged with the

offense of money laundering. Dyer was ordered detained pending trial. David was conditionally

released. One of her release conditions prohibits her from having any direct or indirect contact with

Dyer and her other co-defendants.

       On May 22, 2018, Dyer filed a pro se request to modify David’s release conditions. He is

seeking to strike the condition that prohibits David from contacting him.

       On May 25, 2018, the Government filed a response in opposition to Dyer’s motion. It avers

that the restriction on David’s communication with co-defendants in general and David in particular

is permitted by statute and otherwise warranted by the circumstances.

       28 U.S.C. §§ 3142(c)(1)(B)(iv) and (v) expressly authorize this court to limit a defendant's

associations and to require a defendant to avoid any contact with potential witnesses. Here, the court

did not restrict David’s contact with Dyer on a whim. Rather, it imposed the condition after

considering, amongst other things, the nature and the circumstances of the offenses charged and the


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nature and seriousness of the danger to any person or to the community. See United States v.

Johnston, No. 2:11-cr-501, 2013 WL 4027723, at *2 (D. Utah Aug. 7, 2013) (overruling a

defendant’s objection to a condition of release prohibiting contact between co-defendants); see also

United States v. Sorenson, No. 2:17–cr–00244 , 2018 WL 4799793, at * 2 (D. Nev. Oct. 23, 2017)

(denying a defendant’s motion to strike a condition of release prohibiting contact with his best

friend, a co-defendant ); but see United States v. Belair, No. 17-40043-02, 2018 WL 4758964, at

* 2 (D. Kan. Oct. 20, 2017) (modifying a defendant’s conditions of release so as to permit

telephone contact with her fiancee, a co-defendant in custody).

       David did not object to the condition prohibiting contact with all of her co-defendants when

it was first imposed and has not since sought to have it modified or eliminated. Dyer’s request (Doc.

No. 294) is DENIED.

       IT IS SO ORDERED.

       Dated this Wh day of June, 2018.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court




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